
396 Pa. 234 (1959)
Bradley, Appellant,
v.
Price.
Supreme Court of Pennsylvania.
Argued May 5, 1959.
June 30, 1959.
*235 Before JONES, C.J., BELL, MUSMANNO, JONES, COHEN and McBRIDE, JJ.
John J. O'Brien, Jr., for appellants.
C. Norwood Wherry, with him Albert E. Holl, Jr., for Second Media Federal Loan &amp; Savings Association, appellee.
OPINION PER CURIAM, June 30, 1959:
Order affirmed on the opinion of the court below appearing in 17 Pa. D. &amp; C. 2d 368.
